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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 RUBY FREEMAN and WANDREA’ MOSS,

                       Plaintiffs,

        v.                                                  Case No. 1:23-cv-03754 (BAH)

 RUDOLPH W. GIULIANI,

                       Defendant.



             [PROPOSED] ORDER GRANTING MOTION FOR ADMISSION OF
                   ATTORNEY RACHEL GOODMAN PRO HAC VICE

       The Court has reviewed the motion for admission of attorney Rachel Goodman pro hac

vice. Upon consideration of the motion, the Court grants attorney Rachel Goodman pro hac vice

admission to this Court in the above-referenced matter.


       SO ORDERED.



       December __, 2023
                                                    HON. BERYL A. HOWELL
                                                    United States District Judge
